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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



     ELIZABETH SINES ET AL.                               :      Case No. 3:17-CV-72

                    Plaintiff                             :      Judge MOON


                                                          :
            -v-

     JASON KESSLER ET AL.                                 :

                                                          :
                    Defendants


          MOTION TO DISMISS THE PLAINTIFF’S AMENDED COMPLAINT



           Now come Defendants Jason Kessler, Christopher Cantwell, Vanguard America,

    Robert Ray, Nathan Damigo, Elliott Kline, Identity Evropa, Matthew Heimbach,

    Matthew Parrott, Traditionalist Worker Party, Jeff Schoep, National Socialist Movement,

    and Nationalist Front (hereafter “Moving Defendants”) and move the Court to

    dismiss all claims against them pursuant to FRCP 12(b)(6) for failure to state a claim

    upon which relief can be granted.




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                                        Respectfully Submitted,


                                        s/ Elmer Woodard
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                                    CERTIFICATE OF SERVICE
    I hereby certify the above was served via the Court’s ECF system on January 26, 2018
    upon:

    All parties of record. One party is entitled to or has requested service by other means and
    said party has been served by regular US mail/ electronic mail as follows:
    Mr. Michael Enoch Peinovich
    PO Box 1069
    Hopewell Junction, NY 12533
    mpeinovich@gmail.com

                                                          s/ Elmer Woodard

                                                          E. Woodard (VSB 27734)




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